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                Exhibit 11
                                           Case 1:21-cv-00184-MW-GRJ Document 31-11 Filed 12/03/21 Page 2 of 3


Fried, Jaime

From:                                                                                                                    please-do-not-reply@ufl.edu
Sent:                                                                                                                    Thursday, August 12, 2021 4:15 PM
To:                                                                                                                      Hudak, Mark; Goldhagen, Jeffrey
Subject:                                                                                                                 DOI00017218 UFOLIO Disapproved




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